Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 1 of 6 PageID 1150




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

   FEDERAL TRADE COMMISSION,                               Case No: 8:15-cv-02231-MSS-TBM

                   Plaintiff,

           v.

   ROCA LABS, INC., et al.,

                   Defendants.




                MOTION FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE
           Amici curiae hereby move this Court, pursuant to Rule 19, Fed. R. Cr. P., for leave to file
   the accompanying brief in support of neither party, relative to Plaintiff’s motion scheduled for
   October 22, 2015.
           This matter, and especially the issue of “gag clauses,” present policy considerations that
   go beyond the interests of either party, and such interests are of a national importance.
           Amici are consumer advocacy organizations that provide consumer review services to
   the public. The public has come to rely upon Amici to receive consumer information, and are
   thus in a unique position to share their views with the court. Given that the court is, by
   necessity, considering the policy implications of injunctive relief, Amici offer their views in
   support of the view that consumer gag clauses are per se unconscionable and if allowed at all,
   should be narrowly construed.
           Amicus - Yelp
           Yelp, Inc. is a company that provides platforms and services, including Yelp.com, which
   allows consumers to share information, reviews, photographs, and ratings of businesses. Yelp is
   one of the best known consumer review websites in the world, and serves millions of consumers
   and businesses on a daily basis.

                                                      - 1-
                                      Motion to File Brief as Amicus Curiae
Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 2 of 6 PageID 1151




          Amicus - Avvo
          Avvo, Inc. operates the world’s leading online lawyer rating and review system. Its
   mission is simple: to help people make the best decisions for their legal needs, free of charge. In
   contrast to sites where the only listings are lawyers paying to advertise their services, Avvo
   profiles and rates every lawyer it can find records for - over 97% of all lawyers in the United
   States - and it does not delete profiles. Avvo's ratings include both an algorithmic evaluation of
   a lawyer's background - the “Avvo Rating” - and a client review rating. Avvo has received
   hundreds of thousands of client review ratings, and while it moderates reviews for compliance
   with Avvo’s Community Guidelines, it does not remove reviews upon lawyer demand (or lawsuit
   threat), and does not honor claims that a review violates a contractual obligation to not leave
   online feedback. However, as a consumer information service, Avvo takes the position that
   “gag clauses” such as the one at issue in this case can pose a grave threat to truthful consumer
   reviews and to Avvo’s business model. Accordingly, Avvo seeks to be heard in this case.
          Amicus - Complaints Board
          Mediolex, Ltd. d/b/a Complaints Board operates an online review website that allows
   consumers to post reviews on business around the world and read reviews posted by other users.
   It was established in 2006 and, with more than 3 million registered users, is one of the leading
   websites in the consumer complaints industry. It helps consumers resolve complaints against
   companies with which they had negative experiences, and is a valuable source in informing
   customers about deceptive business practices.
          In its Complaint (Doc. #1) and motion, Plaintiff Federal Trade Commission (“FTC”)
   alleges that, collectively, Defendants have engaged in a series of unfair and deceptive practices in
   violation of Sections 5 and 12 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§
   45(a) and 52. Parts III(C)(2) (pp. 11-15) and IV(B) (pp. 22-28) of the motion specifically address
   the use of a “gag clause,” in effect a one-sided nondisclosure agreement, as constituting an unfair
   practice in violation of Section 5. Defendants are alleged to have utilized this contractual clause

                                                     - 2-
                                     Motion to File Brief as Amicus Curiae
Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 3 of 6 PageID 1152




   to pursue claims against customers and a review website based on negative reviews. Based upon
   the concessions in Defendants’ opposition (Doc. # 18), this issue appears to be the primary
   issue remaining to be decided.
            Movants and putative amici operate review websites and otherwise have an interest in
   encouraging the free exchange of consumer information, positive and negative. Amici take the
   position that consumers cannot make informed choices about goods and services if gag clauses
   proliferate. They have a strong interest in ensuring that the FTC Act is applied fairly.
            District courts in the Eleventh Circuit, are authorized to appoint amici curiae under their
   inherent authority to assist them in cases. See Bayshore Ford Trucks Sales, Inc. v. Ford Motor Co. (In
   re Ford Motor Co.), 471 F.3d 1233, 1249 n.34 (11th Cir. 2006). A district court may grant amicus
   curiae status where: “(1) the petitioner has a ‘special interest’ in the particular case; (2) the
   petitioner’s interest is not represented competently or at all in the case; (3) the proffered
   information is timely and useful; and (4) the petitioner is not partial to a particular outcome in
   the case.” Liberty Resources, Inc. v. Philadelphia Housing Authority, 395 F. Supp. 2d 206, 209 (E.D. Pa.
   2005).
            Movants have a special interest in this case. This appears to be the first case where the
   Federal Trade Commission has sought to preclude the use of such a one-sided nondisclosure
   agreement. Many states, including Florida, have statutes that track the broad language of the
   FTC Act; in fact, the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) requires
   that “in construing” FDUTPA, “due consideration and great weight shall be given to the
   interpretations of the Federal Trade Commission and the federal courts relating to s. 5(a)(1) of
   the Federal Trade Commission Act, 15 U.S.C. s. 45(a)(1) as of July 1, 2001.” Fla. Stat. §
   501.204(2). Thus, the decision here may have broad reaching application in Federal and state
   courts throughout the country. Being intimately involved and concerned with consumer reviews,
   Amici have a special interest in the lawfulness and enforceability of gag clauses.



                                                      - 3-
                                      Motion to File Brief as Amicus Curiae
Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 4 of 6 PageID 1153




          Although the competency of the FTC is not in question, it is specifically focused on law
   enforcement. In doing so, its motion is targeted to likelihood of success on the merits, with
   slight attention to the public interest. See Doc. # 6 at pp. 28-29 (single paragraph). To obtain
   injunctive relief, the FTC must show not only that it is likely to succeed on the merits, but that
   such relief is in the public interest. See FTC v. IAB Mktg. Assocs. LP, 746 F.3d 1228, 1232 (11th
   Cir. 2014). Defendants, over pages, argue that public policy concerns surrounding their gag
   clauses are not nearly as simple or clear as the FTC suggests. See Doc. # 18 at pp. 6-7. Neither
   party provides any formal public policy for the Court’s consideration, instead relying on their
   own ipse dixit. Movants would focus their brief on public policy implications.
          Such information is timely and useful. The hearing is upcoming and the issues addressed
   therein are part of the determination (public interest) that the Court will have to make. It was
   not until Defendants offered their arguments against public policy that Movants deemed it was
   necessary to address the issue.      Of particular note, Defendants cite to a study regarding
   incentives to manufacture and manipulate reviews (Doc. # 18 at p. 7 n.5), without even
   attaching the study. The conclusion they claim, however, is not the conclusion actually reached:
          Our empirical results show that the hotels are essentially able to self-police so
          that while they engage in some manipulation, the amount is not big enough to
          overwhelm the informational value of the site.
   Exhibit A, at p. 30. Defendants’ mischaracterization of the study but days ago spurred this
   motion, rendering it timely.
          Finally, Movants are not partial. Whether Defendants are enjoined from committing an
   unfair practice by enforcing their gag clause even though they may have offered customers a
   premium discount is not their concern. They have no interest in the discounts expended by
   Defendants to secure the absence of negative reviews.
          To further explain their position and answer any questions the Court may have, Movants
   request to participate in the upcoming hearing.



                                                     - 4-
                                     Motion to File Brief as Amicus Curiae
Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 5 of 6 PageID 1154




          WHEREFORE, Movants respectfully request the Court grant leave to file the enclosed
   brief as amicus curiae and to participate in oral argument at the hearing on the FTC’s motion.


                       CERTIFICATION UNDER LOCAL RULE 3.01(g)
          The parties have met and conferred regarding this motion pursuant to Local Rule 3.01(g).
   Plaintiff FTC has stated that they neither consent to nor oppose Movants’ request. Defendants
   do not consent to Movants’ request.

   Dated October 19, 2015.                                    Respectfully Submitted,

                                                              /s/ Marc J. Randazza
                                                              Marc J. Randazza, Esq.
                                                              Florida Bar No. 625566
                                                              RANDAZZA LEGAL GROUP, PLLC
                                                              3625 S. Town Center Drive
                                                              Las Vegas, Nevada 89135
                                                              Phone: 702-420-2001
                                                              Fax: 305-437-7662
                                                              Email: ecf@randazza.com

                                                              Richard J. Mockler, Esq.
                                                              Florida Bar No. 563986
                                                              217 S. Howard Ave., Suite 201
                                                              Tampa, Florida 33606
                                                              Phone: 813-331-5699
                                                              Email: richard@davismocklerlaw.com

                                                              Attorneys for Movants




                                                     - 5-
                                     Motion to File Brief as Amicus Curiae
Case 8:15-cv-02231-MSS-CPT Document 26 Filed 10/19/15 Page 6 of 6 PageID 1155




                                                                 CASE NO.: 8:15-cv-02234-MSS-TBM

                                 CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on October 19, 2015, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that a true and correct
   copy of the foregoing document is being served upon counsel for all parties via transmission of
   Notices of Electronic Filing generated by CM/ECF.
                                                            Respectfully Submitted,

                                                            _________________________________
                                                            An employee / agent of
                                                            RANDAZZA LEGAL GROUP, PLLC




                                                   - 6-
                                   Motion to File Brief as Amicus Curiae
